           Case 1:24-cr-00031-RP Document 8 Filed 03/22/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                         §
                                                 §
vs.                                              §      NO: AU:24-CR-00031(1)-RP
                                                 §
(1) Frank Richard Ahlgren III                    §


                                           ORDER


       It is ORDERED that the Government's Advisory and Request for Hearing (Doc. 7) filed

on March 21, 2024, is hereby REFERRED to United States Magistrate Judge Susan Hightower for

resolution pursuant to 18 U.S.C. § 3006A(b), 28 U.S.C. § 636(b)(1)(A), and Rule 44 of the Federal

Rules of Criminal Procedure.

       SIGNED this 22nd day of March, 2024.




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                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
